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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                 Plaintiff,         )                4:09CR3057
                                    )
          v.                        )
                                    )
TAMI M. RIECK,                      )                   ORDER
                                    )
                 Defendant.         )
                                    )


     IT IS ORDERED:

     IT IS ORDERED:

     1. The motion of Korey L. Reiman to withdraw as counsel for
the defendant, filing no. 18, is granted.

     2. The Federal Public Defender for the District of Nebraska
shall provide the court with a draft appointment order (CJA Form
20) for substitute counsel bearing the name and other identifying
information of the CJA Panel attorney identified in accordance
with the Criminal Justice Act Plan for this district.

     3. The new attorney shall enter an appearance promptly upon
appointment.

     DATED this 5th day of May, 2009.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
